Case 0:22-cv-61046-CMA Document 40-2 Entered on FLSD Docket 08/03/2022 Page 1 of 3




                              EXHIBIT 2
Case 0:22-cv-61046-CMA Document 40-2 Entered on FLSD Docket 08/03/2022 Page 2 of 3




                 LEGAL NOTICE BY ORDER OF THE COURT

    *A COURT AUTHORIZED THIS NOTICE. THIS IS A NOT A
             SOLICITATION FROM A LAWYER. *

   TO: All hourly employees who were employed between September 1, 2020 and June 1,
   2022 in the positions of Registered Nurses (RNs), Licensed Practical Nurses (LPNs), Certified
   Nursing Assistants (CNAs), or Medical Assistants (MAs) who did not receive overtime
   payments at time and one half their hourly rate when they worked over 40 hours in a
   workweek.

   IF YOU MEET THIS DESCRIPTION, YOU SHOULD READ THIS NOTICE
   CAREFULLY BECAUSE IT WILL AFFECT YOUR RIGHTS.

      RE:       Overtime lawsuit under the Florida Constitution and the Fair labor Standards Act.

      Alaa Eltahir v. Nomi Health, Inc., Medix Staffing, Inc., et al, Case No. 22-cv-61046-CMA is
   pending in the United States District Court for the Southern District of Florida.

              This Notice is to inform you of an unpaid overtime lawsuit alleging violations of the
   federal overtime law known as the Fair Labor Standards Act (“FLSA”). The United States District
   Court for the Southern District of Florida has authorized the mailing of this notice to you to afford
   you the opportunity to join this lawsuit, and if appropriate, get paid your unpaid overtime
   payments.

      1.        Why Are You Getting this Notice?

      As a current or former employee of Nomi Health, Inc., Medix Staffing, Inc.,, we are advising
   you that you have a claim to unpaid overtime payments. The federal court has certified a collective
   action for employees who worked over 40 hours a week the following positions:

               CNA,
               LPN,
               RN or
               MA

      You can join this collection action if you worked from June 2, 2019 to the present.

      2.        What is this lawsuit about?

           The individual who brought this lawsuit alleges that the Defendants failed to pay unpaid
   overtime, in violation of the Fair Labor Standards Act. The lawsuit is seeking back pay and
   liquidated damages (double damages) from the Defendants, as well as costs and attorney's fees.
   The Defendants deny that they have violated the law and that they owe any of the back pay,
Case 0:22-cv-61046-CMA Document 40-2 Entered on FLSD Docket 08/03/2022 Page 3 of 3




   damages, costs or attorney's fees that are sought. Defendants will take all lawful actions to defend
   themselves. The Court has not yet decided whether the Defendants have done anything wrong or
   whether this case will proceed to trial.

      3.      Will I have to Pay?

      The attorneys for the Plaintiff are being paid on a contingency fee basis, which means that if
   there is no recovery there will be no attorney's fee. If there is a recovery, the attorney for the Class
   will receive a part of any settlement obtained or money judgment entered in favor of all members
   of the Class, which will have to be approved by the Court.

      4.      Defendants Cannot Retaliate Against you for Joining this Lawsuit.

          It is illegal for Defendants to take any action against you for joining this lawsuit such as
   terminating your employment, or reducing your hours, pay, or benefits. If you suspect any
   misconduct, you may contact the Plaintiff’s attorney identified below so that they may bring it to
   the Court’s attention immediately.

      5.      How Can You Get More Information?

          You can get more information by calling OBeidy & Associates, P.A. at (305)892-5454 or
   Scott Wagner & Associates at (561)653-0008.

      6.      How do I Join?

       You can join by completed the Consent to Join Form. You will also have to provide information
   as it relates to your case including your contact information, the dates of employment, positions held,
   and hours worked.
